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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


  EON CORP. IP HOLDINGS, LLC,

         Plaintiff,

  v.

  T-MOBILE USA, INC.,
  RESEARCH IN MOTION CORPORATION,
  NOKIA, INC., BEST BUY CO., INC., WAL-                       Civil Action No.: 6:10-cv-379-LED
  MART STORES, INC., COSTCO WHOLESALE
  CORPORATION, OVERSTOCK.COM, INC.
  SEARS ROEBUCK AND CO., AMAZON.COM,                          JURY TRIAL REQUESTED
  INC., RADIOSHACK CORPORATION,
  ALCATEL-LUCENT USA INC., D-LINK SYSTEMS,
  INC., INTELLINET TECHNOLOGIES, INC.,
  ACME PACKET, INC., JUNIPER NETWORKS, INC.,
  SAMSUNG TELECOMMUNICATIONS AMERICA
  LLC, and CELLCO PARTNERSHIP D/B/A
  VERIZON WIRELESS,

         Defendants.


       DEFENDANT INTELLINET TECHNOLOGIES, INC.’S ANSWER AND AFFIRMATIVE
             DEFENSES TO PLAINTIFF’S FOURTH AMENDED COMPLAINT

         Defendant IntelliNet Technologies, Inc. (“IntelliNet”) hereby sets forth its Answer and

  Affirmative Defenses to Plaintiff Eon Corp. IP Holdings, LLC’s (“Plaintiff”) Fourth Amended

  Complaint as follows:

                                              ANSWER

         Responding to the individually enumerated paragraphs of the Fourth Amended

  Complaint (for simplicity, merely referred to hereinafter as “the Complaint”), IntelliNet states as

  follows:
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                                          THE PARTIES

         1.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 1 of the Complaint, and, therefore, denies them.

         2.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 2 of the Complaint, and, therefore, denies them.

         3.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 3 of the Complaint, and, therefore, denies them.

         4.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 4 of the Complaint, and, therefore, denies them.

         5.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 5 of the Complaint, and, therefore, denies them.

         6.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 6 of the Complaint, and, therefore, denies them.

         7.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 7 of the Complaint, and, therefore, denies them.

         8.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 8 of the Complaint, and, therefore, denies them.

         9.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 9 of the Complaint, and, therefore, denies them.

         10.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 10 of the Complaint, and, therefore, denies them.

         11.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 11 of the Complaint, and, therefore, denies them.




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          12.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 12 of the Complaint, and, therefore, denies them.

          13.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 12 of the Complaint, and, therefore, denies them.

          14.     IntelliNet admits that it is a Florida corporation and that its principal place of

  business is as stated in Paragraph 14 of the Complaint. IntelliNet also admits that it engages in

  business in Texas and does not maintain a regular place of business in Texas nor does it have

  a designated or maintained resident agent for service of process. IntelliNet denies all remaining

  allegations stated in Paragraph 14 of the Complaint.

          15.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 15 of the Complaint, and, therefore, denies them.

          16.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 16 of the Complaint, and, therefore, denies them.

          17.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 17 of the Complaint, and, therefore, denies them.

          18.     IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 18 of the Complaint, and, therefore, denies them.

          19.     IntelliNet admits that Paragraph 19 of the Complaint purports to group the

  Defendants into various groups for reference in the Complaint. IntelliNet denies any allegation

  or implication in Paragraph 19 that purports to or can be construed to assert any claim for relief

  against IntelliNet.

                                     JURISDICTION AND VENUE

          20.     IntelliNet admits that the Fourth Amended Complaint purports to state claims of

  patent infringement that arise under the Patent Laws of the United States, Title 35 of the United



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  States Code. IntelliNet admits that this Court has subject matter jurisdiction over this action

  pursuant to 28 U.S.C. § 1331 and 1338(a). IntelliNet admits that Plaintiff purports to base

  venue in this district under 28 U.S.C. § 1391 and 1400(b). IntelliNet denies the remaining

  allegations to Paragraph 20 to the extent they relate to IntelliNet.

          21.    IntelliNet admits that it is subject to personal jurisdiction in this Court. IntelliNet

  lacks knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations contained in Paragraph 21 of the Complaint, and, therefore, denies them.

          22.    IntelliNet admits that it is subject to personal jurisdiction in this Court. IntelliNet

  lacks knowledge or information sufficient to form a belief as to the truth of the remaining

  allegations contained in Paragraph 22 of the Complaint, and, therefore, denies them.

          23.     IntelliNet admits that it is subject to personal jurisdiction in this Court, but denies

  all remaining allegations of Paragraph 23 of the Complaint, including without limitation Eon’s

  allegations that IntelliNet infringes U.S. Patent No. 5,592,491.

                                        THE PATENT IN SUIT

          24.    IntelliNet admits that U.S. Patent No. 5,592,491 (“the ‘491 patent”) purports to

  have issued on January 7, 1997 and that a copy of the ‘491 patent is attached to the Complaint

  as Exhibit A. IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the remaining allegations contained in Paragraph 24 of the Complaint, and, therefore, denies

  them.

                                      GENERAL ALLEGATIONS

          25.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 25 of the Complaint, and, therefore, denies them.

          26.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 26 of the Complaint, and, therefore, denies them.



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         27.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 27 of the Complaint, and, therefore, denies them.

         28.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 28 of the Complaint, and, therefore, denies them.

         29.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 29 of the Complaint, and, therefore, denies them.

         30.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 30 of the Complaint, and, therefore, denies them.

         31.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 31 of the Complaint, and, therefore, denies them.

         32.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 32 of the Complaint, and, therefore, denies them.

         33.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 33 of the Complaint, and, therefore, denies them.

         34.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 34 of the Complaint, and, therefore, denies them.

         35.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 35 of the Complaint, and, therefore, denies them.

         36.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 36 of the Complaint, and, therefore, denies them.

         37.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 37 of the Complaint, and, therefore, denies them.

         38.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 38 of the Complaint, and, therefore, denies them.



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         39.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 39 of the Complaint, and, therefore, denies them.

         40.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 40 of the Complaint, and, therefore, denies them.

         41.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 41 of the Complaint, and, therefore, denies them.

         42.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 42 of the Complaint, and, therefore, denies them.

         43.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 43 of the Complaint, and, therefore, denies them.

         44.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 44 of the Complaint, and, therefore, denies them.

         45.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 45 of the Complaint, and, therefore, denies them.

         46.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 46 of the Complaint, and, therefore, denies them.

         47.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 47 of the Complaint, and, therefore, denies them.

         48.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 48 of the Complaint, and, therefore, denies them.

         49.    IntelliNet denies the allegations of Paragraph 49 of the Complaint.

         50.    IntelliNet denies the allegations of Paragraph 50 of the Complaint.

         51.    IntelliNet denies the allegations of Paragraph 51 of the Complaint.




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         52.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 52 of the Complaint, and, therefore, denies them.

         53.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 53 of the Complaint, and, therefore, denies them.

         54.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 54 of the Complaint, and, therefore, denies them.

         55.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 55 of the Complaint, and, therefore, denies them.

         56.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 56 of the Complaint, and, therefore, denies them.

         57.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 57 of the Complaint, and, therefore, denies them.

         58.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 58 of the Complaint, and, therefore, denies them.

         59.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 59 of the Complaint, and, therefore, denies them.

         60.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 60 of the Complaint, and, therefore, denies them.

         61.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 61 of the Complaint, and, therefore, denies them.

                      ALLEGED INFRINGEMENT OF THE PATENT IN SUIT

         62.    IntelliNet incorporates by reference Paragraphs 1-61 above herein, and to the

  extent not otherwise addressed, denies all remaining allegations of Paragraph 62 of the

  Complaint.



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         63.    IntelliNet denies the allegations of Paragraph 63 of the Complaint to the extent

  such allegations are asserted as to IntelliNet.      IntelliNet lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations contained in Paragraph 63 with

  respect to any other Defendant, and, therefore, denies them.

         64.    IntelliNet denies the allegations of Paragraph 64 of the Complaint to the extent

  such allegations are asserted as to IntelliNet.      IntelliNet lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations contained in Paragraph 64 with

  respect to any other Defendant, and, therefore, denies them.

         65.    IntelliNet lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in Paragraph 65 of the Complaint, and, therefore, denies them.

         66.    IntelliNet denies the allegations of Paragraph 66 of the Complaint to the extent

  such allegations are asserted as to IntelliNet.      IntelliNet lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations contained in Paragraph 66 with

  respect to any other Defendant, and, therefore, denies them.

         67.    IntelliNet denies the allegations of Paragraph 67 of the Complaint to the extent

  such allegations are asserted as to IntelliNet.      IntelliNet lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations contained in Paragraph 67 with

  respect to any other Defendant, and, therefore, denies them.

         68.    IntelliNet denies the allegations of Paragraph 68 of the Complaint to the extent

  such allegations are asserted as to IntelliNet.      IntelliNet lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations contained in Paragraph 68 with

  respect to any other Defendant, and, therefore, denies them.




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          69.     In addition to the foregoing, IntelliNet hereby denies each and every allegation

  asserted in the Complaint that is not expressly admitted above, and IntelliNet further denies that

  Plaintiff is entitled to any relief whatsoever from IntelliNet.

                        RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF

          These paragraphs (A-I) set forth a statement of relief requested by Plaintiff, to which no

  response is required. IntelliNet denies that Plaintiff is entitled to any of the requested relief and

  denies any and all associated allegations contained therein.

                                              Jury Demand

          IntelliNet denies that Plaintiff is entitled to a trial by jury except as permitted by law.

                                       AFFIRMATIVE DEFENSES

          IntelliNet, as further and separate defenses to the Complaint and without assuming any

  burden it would not otherwise have, alleges, upon information and belief, the following defenses:

                                               First Defense
                                         (Failure to State a Claim)

          70.     Each and every one of Plaintiff’s claims for relief and each and every one of its

  allegations fails to state a claim upon which any relief may be granted against IntelliNet.

                                             Second Defense
                                            (Non-Infringement)

          71.     IntelliNet has not and does not infringe, directly (individually or as a joint infringer)

  or indirectly (as a contributory infringer or inducer of infringement), any valid and enforceable

  claim of U.S. Patent No. 5,592,491 either literally, under the doctrine of equivalents, or

  otherwise.




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                                             Third Defense
                                               (Invalidity)

          72.     Each claim of the '491 patent is invalid or void for failure to comply with one or

   more of the requirements of Title 35, United States Code, including but not limited to 35 U.S.C.

   §§ 101, 102, 103, and/or 112.

                                            Fourth Defense
                                          (Equitable Defenses)

          73.     Plaintiff’s claims are barred, in whole or in part, pursuant to the doctrines of

   estoppel, unclean hands, laches, and/or waiver.

                                              Fifth Defense
                                   (Limitation on Damages and Costs)

          74.     Any claim for damages for infringement of the ‘491 patent is limited by 35 U.S.C.

   § 287 to those alleged damages occurring after notice of infringement.

                                            Sixth Defense
                                         (No Exceptional Case)

          75.     Plaintiff cannot prove that this is an exceptional case justifying award of attorneys

   fees against IntelliNet pursuant to 35 U.S.C. § 285.

                                           Seventh Defense
                                     (Prosecution History Estoppel)

          76.     Due to statements, representations, and/or other conduct during the prosecution

   of the patent application that became the ‘491 patent, including its parent application and other

   related applications to the ‘491 patent, Plaintiff is estopped from asserting any interpretation of

   the claims of the ‘491 patent that would cover any of IntelliNet’s products or services.

                                        PRAYER FOR RELIEF

          Wherefore, IntelliNet prays that this Court enter judgment:

          (a)     Dismissing Plaintiff’s Complaint with prejudice;




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          (b)     Declaring this an exceptional case under 35 U.S.C. § 285 justifying the award of

   costs and fees against Plaintiff;

          (e)     Awarding IntelliNet its costs in this action and its reasonable attorney’s fees; and

          (f)     Awarding IntelliNet such further necessary and proper relief as this Court may

   deem just and proper.

                                       DEMAND FOR TRIAL BY JURY

          Defendant IntelliNet demands a trial by jury of all issues so triable, pursuant to Rule 38

   of the Federal Rules of Civil Procedure.



                                           Respectfully submitted,
   DATED: September 14, 2011

                                            /s/ N. Andrew Crain
                                           Dan R. Gresham
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                                           Georgia Bar No. 310280
                                           N. Andrew Crain – Lead Attorney
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                                           Attorneys for Defendant
                                           IntelliNet Technologies, Inc.




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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


   EON CORP. IP HOLDINGS, LLC,

         Plaintiff,

   v.

   T-MOBILE USA, INC.,
   RESEARCH IN MOTION CORPORATION,
   NOKIA, INC., BEST BUY CO., INC., WAL-                   Civil Action No.: 10-cv-379-LED
   MART STORES, INC., COSTCO WHOLESALE
   CORPORATION, OVERSTOCK.COM, INC.
   SEARS ROEBUCK AND CO., AMAZON.COM,                      JURY TRIAL REQUESTED
   INC., RADIOSHACK CORPORATION,
   ALCATEL-LUCENT USA INC., D-LINK SYSTEMS,
   INC., INTELLINET TECHNOLOGIES, INC.,
   ACME PACKET, INC., JUNIPER NETWORKS, INC.,
   SAMSUNG TELECOMMUNICATIONS AMERICA
   LLC, and CELLCO PARTNERSHIP D/B/A
   VERIZON WIRELESS,

         Defendants.



                                  CERTIFICATE OF SERVICE


         I certify that this document was filed electronically pursuant to Local Rule CV-5(a) on

   September 14, 2011. Pursuant to Local Rule CV-5(a)(3)(A), this electronic filing acts to

   electronically serve all counsel who have consented to electronic service via the Court’s

   CM/ECF system.



                                                    /s/ N. Andrew Crain
                                                    N. Andrew Crain
                                                    Attorney for IntelliNet Technologies, Inc.




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